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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANDREA AMAYA,
BENCHER MONTEBON,
OLSI VELO,
JASMIN DZOGOVIC,
RICHARD ANTON,
SARAH PRUITT,
                                                                         JUDGMENT
                                                 Plaintiffs,

                        -against-
                                                                         Index No.: 1:23-cv-08897
LA GRANDE BOUCHERIE LLC, THE GROUP
US MANAGEMENT LLC, and EMIL STEFKOV,


                                                 Defendants.


        WHEREAS, an Acceptance of Offer of Judgment pursuant to Fed. R. Civ. P. 68 having

been filed on July 1, 2024.

        It is, therefore, ORDERED, ADJUDGED AND DECREED: That judgment is entered in

favor of Plaintiff Richard Anton and against Defendant La Grande Boucherie LLC, The Group US

Management LLC, and Emil Stefkov in the amount of $1,700, inclusive of attorney’s fees and

costs, in full and final resolution of all of Plaintiff’s claims in this Action.

Dated: New York, New York
       July 2
       _________ __, 2024

                                                 So Ordered:
